
5 Cal.App.2d 218 (1935)
In the Matter of the Application of CLIFFORD L. BROWN for a Writ of Habeas Corpus.
Crim. No. 2694. 
California Court of Appeals. Second Appellate District, Division One.  
March 11, 1935.
 Gladys Towles Root for Petitioner.
 Buron Fitts, District Attorney, and J. J. Sullivan, Deputy District Attorney, for Respondent.
 The Court.
 The petitioner is remanded to custody. [1] It is the opinion of this court that the order of the superior court admitting the petitioner to probation for a period of three years after his plea of guilty of violation of section 112 of the California Vehicle Act, and providing as a condition of such probation that defendant serve at the county road camp during the first two years of said probationary period, was an order made within the authority of the court. The condition thus imposed does not violate any provision of section 19a of the Penal Code. See, also, section 1203 of the Penal Code, and particularly that paragraph *219 thereof defining the court's power over punishment in connection with orders admitting to probation. There is nothing in section 112 of the California Vehicle Act which limits or changes the power of the court as above stated.
